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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


    DARLENE M. KENNEDY, individually and                 Case No.    3:23cv622
    on behalf of all others similarly situated,

                                  Plaintiff,
          v.                                              CLASS ACTION COMPLAINT

    GENWORTH FINANCIAL, INC.,
                                                         JURY TRIAL DEMANDED
                                  Defendant.


                                CLASS ACTION COMPLAINT


         Plaintiff Darlene M. Kennedy (“Plaintiff”) brings this Class Action Complaint,

individually and on behalf of all others similarly situated (the “Class Members”), against Genworth

Financial, Inc. (“Defendant” or “Genworth”) alleging as follows, based upon information and

belief, investigation of counsel, and personal knowledge of Plaintiff.

                                       NATURE OF CASE

         1.     This class action arises out of the recent targeted cyberattack and data breach where

unauthorized third-party criminals retrieved and exfiltrated the highly-sensitive consumer data1 of

Plaintiff, and 2.5-2.7 million Class Members collected by Defendant, via a security vulnerability

in a software program used by a third-party vendor contracted by Defendant (“Data Breach”).2

After learning of the Data Breach, Defendant waited over one month to notify affected

individuals.3


1
  See Data Breach Notice, Exhibit A.
2
  U.S. Department of Health and Human Services Cases, Currently Under Investigation,
https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed Aug. 23, 2023).
3
  Compare Data Breach Notice dated July 21, 2023, to CONSUMER ALERT: Data Breach of
                                                 1
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         2.     Defendant is a “pioneer” in the long term care insurance industry, “helping our

customers navigate caregiving options, protect and grow their retirement income, and prepare for

the financial challenges that come as we age.”4 As part of its business, Defendant collects the data

of its customers and insurance agents, including full names, Social Security numbers, full

addresses, policy information, credit and payment data, income or assets, and medical or health

data.5

         3.     According to Defendant, information compromised in the Data Breach includes

personally identifying information (“PII”) of Defendant’s customers and insurance agents, such

as: Social Security number, first and last name, date of birth, zip code, state of residence, policy

number, the role of the individual (ex. Annuitant, Joint Insured, Owner, etc.), product type, and if

deceased, the city and date of death, along with the source of that information (“Private

Information”).6

         4.     Defendant’s Privacy Policy, posted on its website, informs consumers that “to

protect your personal data”:

         We maintain physical, electronic and procedural safeguards. We review these
         safeguards regularly in keeping with technological advancements. We restrict
         access to your personal data. We also train our employees in the proper handling of
         your personal data.7

Genworth Third-Party Vendor, Delaware News,
https://news.delaware.gov/2023/06/26/consumer-alert-data-breach-of-genworth-third-party-
vendor/, announcing June 16, 2023 disclosure by Glenworth of data breach (last accessed Sept.
27, 2023).
4
  Our Promise, Genworth, https://www.genworth.com/about-us.html (last accessed Sept. 27,
2023).
5
  Genworth Privacy Policy, Genworth,
https://pro.genworth.com/riiproweb/productinfo/pdf/45242.pdf (last accessed Sept. 27, 2023).
6
  MOVEit Security Event, Genworth, https://www.genworth.com/moveit.html (last accessed
Sept. 27, 2023).
7
  Genworth Privacy Policy, Genworth,
https://pro.genworth.com/riiproweb/productinfo/pdf/45242.pdf (last accessed Sept. 27, 2023).
                                               2
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Defendant’s Privacy Policy ensures consumers: “We are committed to protecting the personal

data we obtain about you.”8

       5.      Defendant extends these same assurances to the third-party service providers it

contracts with, warranting:

       We require that service providers who have access to your personal information
       implement similar standards. We require service providers to agree to keep your
       personal information confidential. Service providers who violate our privacy terms
       are subject to having their contract terminated.9

       6.      Despite these assurances, Defendant failed to adequately safeguard Plaintiff’s and

Class Members’ highly sensitive Private Information that Defendant collected and maintained.

Specifically, a third-party vendor contracted by Defendant, Pension Benefit Information, LLC

d/b/a PBI Research Services (“PBI”), used Progress Software Corporation’s MOVEit software to

transfer the Private Information of Plaintiff and Class Members, and this Private Information was

compromised as a result of a security vulnerability in the MOVEit software.

       7.      It is reported that the Data Breach was carried out by notorious Russia-linked

ransomware syndicate Cl0p.10

       8.      Based on the notice posted on Defendant’s website, Defendant admits that

Plaintiff’s and Class Members’ Private Information was accessed and compromised by an

unauthorized third party.

       9.      Defendant owed a non-delegable duty to Plaintiff and Class Members to implement



8
  Id.
9
  Genworth Online Privacy Policy, Genworth, https://www.genworth.com/online-privacy-
policy.html (last accessed Sept. 27, 2023).
10
   E.g. Cl0p dumps all MOVEit victim data on clearnet, threat insiders talk ransom strategy,
cybernews (Aug. 18, 2023), https://cybernews.com/security/clop-publish-all-moveit-victim-
ransom-data-clearweb/.
                                                3
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reasonable and adequate security measures to protect their Private Information. Yet, Defendant

maintained and shared the Private Information in a negligent and/or reckless manner. In particular,

Defendant shared the Private Information with a third-party vendor in a condition vulnerable to

cyberattacks, and the Private Information was maintained on computer systems in a condition

vulnerable to cyberattacks. Upon information and belief, the mechanism of the cyberattack and

potential for improper disclosure of Plaintiff’s and Class Members’ Private Information was a

known risk to Defendant, and thus Defendant was on notice that failing to take steps necessary to

ensure its vendors properly safeguarded Plaintiff’s and Class Members’ Private Information from

those risks left that Private Information in a vulnerable condition.

       10.     Plaintiff’s and Class Members’ Private Information was compromised due to

Defendant’s negligent and/or careless acts and omissions and the failure to reasonably and

adequately protect Plaintiff’s and Class Members’ Private Information.

       11.     Armed with the Private Information accessed in the Data Breach, data thieves can

commit a variety of crimes including opening new financial accounts and taking out loans in Class

Members’ names, using Class Members’ names to obtain medical services, using Class Members’

Private Information to target other phishing and hacking intrusions, using Class Members’

information to obtain government benefits, and filing fraudulent tax returns using Class Members’

information.

       12.     As a result of the Data Breach, Plaintiff and Class Members face a substantial risk

of imminent and certainly impending harm, heightened here by the loss of Social Security

numbers, a class of Private Information which is particularly valuable to identity thieves. Plaintiff

and Class Members have and will continue to suffer injuries associated with this risk, including

but not limited to a loss of time, mitigation expenses, and anxiety over the misuse of their Private
                                                   4
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Information.

        13.    Even those Class Members who have yet to experience identity theft have to spend

time responding to the Data Breach and are at an immediate and heightened risk of all manners of

identity theft as a direct and proximate result of the Data Breach. Plaintiff and Class Members

have incurred, and will continue to incur, damages in the form of, among other things, identity

theft, attempted identity theft, lost time and expenses mitigating harms, increased risk of harm,

damaged credit, diminished value of Private Information, loss of privacy, and/or additional

damages as described below.

        14.    Accordingly, Plaintiff brings this action against Defendant seeking redress for its

unlawful conduct and asserting claims for: (i) negligence; (ii) breach of implied contract; (iii)

unjust enrichment; (iv) bailment; and (v) breach of fiduciary duty. Through these claims, Plaintiff

seeks damages in an amount to be proven at trial, as well as injunctive and other equitable relief,

including improvements to Defendant’s data security systems, policies, and practices, future

annual audits, and adequate credit monitoring services funded by Defendant.

                                         THE PARTIES

        15.    Plaintiff Darlene M. Kennedy is a natural person, resident, and citizen of the State

of Illinois.

        16.    Defendant obtained and continues to maintain the Private Information of Plaintiff

and owed her a legal duty and obligation to protect her Private Information from unauthorized

access and disclosure. Plaintiff’s Private Information was compromised and disclosed as a result

of Defendant’s inadequate data security practices, which resulted in the Data Breach.

        17.    Plaintiff recalls receiving a notice letter dated July 21, 2023 from Defendant’s

third-party vendor, PBI, stating that an unauthorized party downloaded Plaintiff’s Private
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Information which she had previously provided to Defendant Genworth.

        18.     Defendant Genworth Financial, Inc. is a for-profit corporation incorporated in

Delaware with its headquarters in Richmond, Virginia. Defendant’s principal place of business is

located at 6620 West Broad Street Richmond, VA 23230.


                                  JURISDICTION AND VENUE

        19.     This Court has original jurisdiction over this action under the Class Action Fairness

Act, 28 U.S.C. § 1332(d)(2) because Plaintiff and at least one member of the putative Class, as

defined below, is a citizen of a different state than Defendant, there are more than 100 putative

class members, and the amount in controversy exceeds $5 million exclusive of interest and costs.

        20.     This Court has general personal jurisdiction over Defendant because Defendant

maintains its principal places of business in Richmond, Virginia, regularly conducts business in

Maryland, and has sufficient minimum contacts in Maryland.

        21.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant’s

principal place of business is in this District and a substantial part of the events, acts, and omissions

giving rise to Plaintiff’s claims occurred in this District.

                                    DEFENDANT’S BUSINESS

        22.     Defendant is “a Fortune 500 company focused on empowering families to navigate

the aging journey with confidence, now and in the future” and “provides guidance, products, and

services that help people understand their caregiving options and fund their long-term care

needs”11



11
  Company Information, Genworth, https://investor.genworth.com/company-information (last
accessed Sept. 27, 2023).
                                              6
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        23.    Defendant’s core business involves providing a wide range of mortgage, long-term

care insurance, life insurance, and other financial products.12

        24.    Defendant’s Privacy Policy, accessible on its website, acknowledges that, as part

of its ordinary course of business, it collects and stores the Private Information of consumers, such

as Plaintiff and Class Members. “We may collect your personal data to provide you with the

products or services you requested.”13

        25.    Defendant’s Privacy Policy acknowledges that Defendant “compl[ies] with Federal

and State requirements related to the protection and use of your data.”14

        26.    To obtain financial and/or insurance services and products from Defendant,

Plaintiff and Class Members must provide Defendant with sensitive Private Information.

Defendant may receive this Private Information directly from Plaintiff and Class Members, or

from outside parties such as health providers or consumer reporting agencies.15 As part of its

business, Defendant then compiles, stores, and maintains the Private Information it receives from

consumers and insurance agents who utilize its services. In Defendant’s over 40 years of

experience, Defendant has served millions of consumers, indicating that Defendant has created

and maintains a massive repository of Private Information, creating a particularly lucrative target

for data thieves looking to obtain, misuse, or sell patient data.

        27.    On information and belief, in the ordinary course of their businesses of providing



12
   2022 Annual Report: Genworth Financial Inc., Genworth
https://d1io3yog0oux5.cloudfront.net/_043938fbccb06c14f97da1f0eb7c06de/genworth/db/2301/
22834/annual_report/Genworth--2022+Annual+Report+%28Final%29.pdf.
13
   Genworth Privacy Policy, Genworth,
https://pro.genworth.com/riiproweb/productinfo/pdf/45242.pdf (last accessed Sept. 27, 2023).
14
   Id.
15
   Id.
                                               7
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medical care and services, Defendant maintains the Private Information of consumers, including

but not limited to:

              Name, address, phone number and email address;

              Date of birth;

              Demographic information;

              Social Security number or taxpayer identification number;

              Financial and/or payment information;

              Income and assets;

              Accounts at other institutions; and

              Other information that Defendant may deem necessary to provide services and

                 products.

       28.       Because of the highly sensitive and personal nature of the information Defendant

acquires and stores with respect to consumers and other individuals, Defendant, upon information

and belief, promises to, among other things: keep Private Information private; comply with

financial services industry standards related to data security and Private Information, including

FTC guidelines; inform consumers of its legal duties and comply with all federal and state laws

protecting consumer Private Information; only use and release Private Information for reasons that

relate to the products and services Plaintiff and Class Members obtain from Defendant; and

provide adequate notice to individuals if their Private Information is disclosed without

authorization.

       29.       Defendant acknowledges and reiterates these promises in numerous places on its

website. For example, Defendant’s “Fraud & Information Protection” webpage boasts that

“Working to protect your personal information is one of our promises that enables us to help
                                              8
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millions of policyholders secure their financial lives, families, and futures.”16 Defendant’s Online

Privacy Policy ensures that “Protecting the privacy and security of your personal information is

very important to us.”17 Defendant’s general Privacy Policy claims: “Our privacy philosophy

reflects the value of your trust. We are committed to protecting the personal data we obtain about

you.”18 Defendant even promises that third parties contracted by Defendant will live up to these

same data security standards: “We require that service providers who have access to your personal

information implement similar standards. We require service providers to agree to keep your

personal information confidential. Service providers who violate our privacy terms are subject to

having their contract terminated.”19

        30.    Based on the foregoing, Defendant was aware that it owed non-delegable duties to

Plaintiff and Class Members to ensure that their Private Information was safeguarded and to ensure

that Defendant had reasonable and adequate security measures, policies, and practices in place to

ensure that third parties contracted by Defendant and entrusted with this Private Information by

Defendant, would safeguard this Private Information.

        31.    Yet, contrary to Defendant’s representations, Defendant failed to implement

adequate data security measures, as evidenced by Defendant’s admission of the Data Breach,

which affected over 2.5 million customers and agents of Defendant.

                       THE DATA BREACH AND NOTICE LETTER


16
   Fraud & Information Protection, Genworth, https://www.genworth.com/fraud-and-
information-protection.html (last accessed Sept. 27, 2023).
17
   Genworth Online Privacy Policy, Genworth, https://www.genworth.com/online-privacy-
policy.html (last accessed Sept. 27, 2023).
18
   Genworth Privacy Policy, Genworth,
https://pro.genworth.com/riiproweb/productinfo/pdf/45242.pdf (last accessed Sept. 27, 2023).
19
   Genworth Online Privacy Policy, Genworth, https://www.genworth.com/online-privacy-
policy.html (last accessed Sept. 27, 2023).
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         32.   According to the Notice Letter, Defendant provided to Plaintiff and Class Members

(either via Defendant directly or via Defendant’s third-party vendor, PBI), Private Information

collected by Defendant was compromised in a cybersecurity attack where unauthorized parties

accessed that Private Information between May 29 and May 30, 2023.20

         33.   According to the Notice Letter, On May 31, 2023, Progress Software, the provider

of MOVEit Transfer software disclosed a vulnerability in their software that been exploited by an

unauthorized third party.”21 Because PBI uses MOVEit in the regular course of its business, PBI

“promptly launched an investigation into the nature and scope of the MOVEit vulnerability’s

impact on our system.”22

         34.   Through PBI’s investigation, PBI determined that an unauthorized “third party

accessed one of our MOVEit Transfer Servers on May 29, 2023 and May 30, 2023 and

downloaded [Plaintiff’s and Class Members’] data.”23

         35.   According to the Notice Letter, the types of information exfiltrated in the Data

Breach included individuals’ “name, Social Security number, date of birth, zip code, state of

residence, role in policy/account (eg., Annuitant, Joint Insured, Owner, etc.), general product type,

and policy/account number.”24 Defendant’s website additionally notes for customers, if deceased,

“the exposed information also includes the city and date of death, along with the source of that

information.”25 For impacted agents, Defendant’s website reports that the information exposed in



20
   See Notice Letter.
21
   Id.
22
   id.
23
   See id.
24
   See id.
25
   MOVEit Security Event, Genworth, https://www.genworth.com/moveit.html (last accessed
Sept. 27, 2023).
                                              10
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the Data Breach includes: “social security number, first and last name, date of birth, full address,

and a preferred full address” and, if deceased, the “date of death and the source of that

information.”26

         36.    On June 16, 2023, PBI reportedly advised Genworth that “specific Genworth files

containing policyholder and agent information were compromised” in the Data Breach.27 Yet,

Genworth waited over one month to begin sending Notice Letters to affected individuals, with

certain Class Members, including Plaintiff, never receiving a notice directly from Genworth, the

entity to which they entrusted their Private Information. Rather, Plaintiff and other Class Members

learned of the Data Breach only from PBI. This slow and/or absent response occurred, despite

Defendant’s 2022 Annual Report acknowledging that “an increasing number of states and foreign

countries require that affected parties be notified or other actions be taken (which could involve

significant costs to us) if a security breach results in the unlawful disclosure of personal

information,” as occurred here.28

         37.    In the aftermath of the Data Breach, Defendant claims that it is “making sure this

doesn’t happen again” by doing the following:

         We have implemented technical, physical, and process safeguards to maintain the
         confidentiality of customer information. Further, we require third parties that
         receive and store the personal information of our customers to take similar steps,
         and we work to understand the measures they have taken. While the MOVEit event
         has impacted various organizations globally, Genworth will continue to focus on
         and seek opportunities to improve how third parties protect the data of our
         customers.29


26
   Id.
27
   MOVEit Security Event, Genworth, https://www.genworth.com/moveit.html (last accessed
Sept. 27, 2023).
28
   https://www.hopkinsmedicine.org/Privacy/_docs/notice-of-privacy-practices-providers.pdf.
29
   MOVEit Security Event, Genworth, https://www.genworth.com/moveit.html (last accessed
Sept. 27, 2023).
                                              11
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However, there is no indication whether these measures are adequate to protect Plaintiff’s and

Class Members’ Private Information going forward.

       38.     Defendant’s accessed data contained Private Information that was accessible,

unencrypted, unprotected, and vulnerable for acquisition and/or exfiltration by the unauthorized

actor which Defendant electively shared with its third-party vendor, PBI.

       39.     As a financial entity that collects, creates, maintains, and shares/transfers

significant volumes of Private Information, the targeted attack was a foreseeable risk which

Defendant was aware of and knew it had a duty to guard against. It is well-known that insurance

and financial services providers such as Defendant, which collect and store the confidential and

sensitive Private Information of millions of individuals, and the third-party vendors with which

these entitles share that information, are frequently targeted by cyberattacks. Further, cyberattacks

are highly preventable through the implementation of reasonable and adequate cybersecurity

safeguards, including proper oversight of the cybersecurity practices of third-party vendors and

reasonable and adequate data sharing practices and policies.

       40.     The targeted cyberattack was expressly designed to gain access to and exfiltrate

private and confidential data, including (among other things) the Private Information of

consumers, like Plaintiff and Class Members.

       41.     Defendant had obligations created by federal and state regulations, contract,

industry standards, common law, and its own promises and representations made to Plaintiff and

Class Members to keep their Private Information confidential and to protect it from unauthorized

access and disclosure.

       42.     Plaintiff and Class Members provided their Private Information to Defendant with

the reasonable expectation and mutual understanding that Defendant would comply with its
                                                  12
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obligations to keep such information confidential and secure from unauthorized access.

        43.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ Private Information, Defendant assumed legal and equitable duties and knew, or should

have known, that they were responsible for protecting Plaintiff’s and Class Members’ Private

Information from unauthorized disclosure.

        44.     Due to Defendant’s inadequate security policies and practices and its delayed

notice to victims, Plaintiff and Class Members now face a present, immediate, and ongoing risk of

fraud and identity theft that they will have to deal with for the rest of their lives.

        45.     Defendant shared Plaintiff’s and Class Members’ Private Information with a third-

party vendor, PBI, and according to published reports, PBI fell victim to a MOVEit Transfer

attack, carried out by Russia-linked ransomware syndicate Cl0p.

        46.     MOVEit Transfer is a managed file transfer software. The zero-day bug affected

MOVEit Transfer’s servers, allowing attackers to access and download the data stored there,

including that of Defendant.

        47.     Cl0p posted on their dark web blog that they had taken Defendant’s data.

        48.     The Cl0p ransomware gang has taken credit for exploiting the MOVEit zero-day

bug. They claim to have breached hundreds of companies in the process.

        49.     So far, over 200 organizations have fallen victim to the MOVEit attacks, with the

estimated number of exposed people exceeding 17 million. Cl0p has been posting victims’ names

on their dark web leak site since June 14, 2023. The extent of the exposed data depends on how a

certain company uses the file transfer system.

        50.     Cl0p operates under the Ransomware-as-a-Service (RaaS) mode, which means that

it rents the software to affiliates for a pre-agreed cut of the ransom payment.
                                                    13
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         51.    Cl0p employs the “double-extortion” technique of stealing and encrypting victim

data, refusing to restore access, and publishing exfiltrated data into its data leak site if the ransom

is not paid. On information and belief, neither Defendant nor PBI paid a ransom to Cl0p.

          The Data Breach was a Foreseeable Risk of which Defendant was on Notice

         52.    As a financial services entity entrusted with the highly sensitive Private

Information of consumers, federal and state regulations require Defendant to implement adequate

safeguards to prevent unauthorized use or disclosure of Private Information. Defendant, itself

acknowledges, in its 2022 Annual Report to Shareholders that:

                In the United States, federal and state laws and regulations require financial
                institutions, including insurance companies, to protect the security and
                privacy of consumer financial information and to notify consumers about
                policies and practices relating to the collection, use and disclosure of
                consumer information, as well as policies relating to protecting the
                confidentiality, integrity and availability of that information.30

         53.    In Defendant’s 2023 Proxy Statement, Defendant includes a “Spotlight on

Cybersecurity Risk,” in which it further acknowledges the vital importance of maintaining

adequate and reasonable security measures:

         Genworth recognizes the significant operational risk, including risk of losses, from
         cyberattacks and the importance of a strong cybersecurity program for effective
         risk management. Our Board recognizes the importance of maintaining the privacy
         and security of customer information, as well as the availability of our systems and
         consequently dedicates meaningful time and attention to oversight of cybersecurity
         risk. In light of these risks, our Board is actively engaged in the oversight of our
         Company’s Information Security and Information Technology (“IT”) Risk
         Program, which includes periodic briefings on cybersecurity threats and
         participation in cybersecurity preparedness exercises.31

30
   2022 Annual Report: Genworth Financial Inc., Genworth
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22834/annual_report/Genworth--2022+Annual+Report+%28Final%29.pdf.
31
   Notice of 2023 Annual Meeting and Proxy Statement: Genworth Financial, Inc., Genworth,
https://d1io3yog0oux5.cloudfront.net/_043938fbccb06c14f97da1f0eb7c06de/genworth/db/2301/
22834/proxy_statement_pdf/Genworth--
                                               14
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       54.     Additionally, Defendant explicitly recognizes the heightened standards of security

necessary to ensure the protection of Private Information in recent years:

               The area of cybersecurity and data privacy have come under increased
               scrutiny in recent years, with various countries, government agencies and
               insurance regulators introducing and/or passing legislation in an attempt to
               safeguard personal information from escalating cybersecurity threats. For
               additional details, see “Regulation— Other Laws and Regulations—
               Cybersecurity” and “Regulation—Other Laws and Regulations—Privacy
               of Consumer Information.”32

Defendant claims to “have implemented internal policies, practices and controls designed to

comply with applicable data privacy and security laws.”33

       55.     However, Defendant did not maintain adequate security to protect the Private

Information it collected from infiltration by cybercriminals, and Defendant waited over one month

to notify affected individuals of the Data Breach.

       56.     More specifically, Defendant explicitly acknowledges that the nature of the

information it collected and maintained from Plaintiff and Class Members made it uniquely

susceptible to cyberattacks that could compromise consumer’s Private Information:

               We retain confidential information in our computer systems, and we rely on
               commercial technologies to maintain the security of those systems,
               including computers or mobile devices. Anyone who is able to circumvent
               our security measures and penetrate our computer systems or misuse
               authorized access could access, view, misappropriate, alter, delete or
               disclose any information in the systems, including personal information,
               personal health information and proprietary business information.34




2023%2BProxy%2BStatement%2B%2528Final%2529.pdf.
32
   2022 Annual Report: Genworth Financial Inc., Genworth
https://d1io3yog0oux5.cloudfront.net/_043938fbccb06c14f97da1f0eb7c06de/genworth/db/2301/
22834/annual_report/Genworth--2022+Annual+Report+%28Final%29.pdf.
33
   Id.
34
   Id. (emphasis added).
                                               15
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           57.   Defendant also should have been on heightened notice of the risk of possible

cyberattacks, such as the one which compromised Plaintiff’s and Class Members’ Private

Information, because it has been the target of such attacks in the past. “We have experienced

occasional, actual or attempted breaches of our cybersecurity, although to date, none of these

breaches has had a material effect on our business, operations or reputation.”35

           58.   By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ Private Information, Defendant assumed legal and equitable duties and knew or should

have known that it was responsible for protecting Plaintiff’s and Class Members’ Private

Information from unauthorized disclosure, including disclosure resulting from a breach of a third-

party vendor with whom Defendant shares consumers’ Private Information. Defendant

acknowledges as much in its 2022 Annual Shareholder Report:

                 Any compromise of the security of our computer systems or those of our
                 partners and third-party service providers that results in the unauthorized
                 disclosure of customer personal information could damage our reputation
                 in the marketplace, deter people from purchasing our products, subject us
                 to significant civil and criminal liability and require us to incur significant
                 technical, legal and other expenses.36

           59.   Based on the foregoing, Defendant knew that it owed Plaintiff and Class Members

non-delegable duties to keep the Private Information it collected, maintained, and/or transferred

to and shared with selected third-parties, secure and protected. Defendant’s duty, as Defendant

itself acknowledges, extended to the third parties, like PBI, with which Defendant shared this

Private Information; Defendant was required to ensure these third parties implemented reasonable

and adequate security measures necessary to secure Plaintiff’s and Class Members’ Private



35
     Id.
36
     Id.
                                                    16
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Information.

         60.   As described throughout this Complaint, Defendant did not implement reasonable

security practices and policies to protect Plaintiff’s and Class Members’ Private Information prior

to, during, or after the Data Breach, but rather, enacted unreasonable data security measures and

failed to ensure that Defendant’s third-party vendors which it elected to share this Private

Information with had reasonable data security measures, which it knew or should have known

were insufficient to reasonably protect the highly sensitive information Defendant collected.

Consequently, cybercriminals circumvented the security measures of a vendor Defendant elected

to contract with and share Plaintiff’s and Class Members’ data with, resulting in a significant Data

Breach.

                       Defendant Fails to Comply with FTC Guidelines

         61.   The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should factor into all business decision-making.

         62.   In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cyber-security guidelines for businesses. The guidelines

note that businesses should protect the personal customer information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems.37 The guidelines also recommend that businesses use an intrusion detection



37
  Protecting Personal Information: A Guide for Business, Federal Trade Commission (Oct.
2016), available at https://www.ftc.gov/system/files/documents/plain-language/pdf-
0136_proteting-personal-information.pdf.
                                                17
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system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating

someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and, have a response plan ready in the event of a breach.38

           63.   The FTC further recommends that companies not maintain PII longer than

necessary for authorization of a transaction; limit access to sensitive data; require complex

passwords to be used on networks; use industry-tested methods for security; monitor for suspicious

activity on the network; and verify that third-party service providers have implemented reasonable

security measures.

           64.   The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

           65.   These FTC enforcement actions include actions against financial services providers

and partners like Defendant.

           66.   Genworth failed to properly implement basic data security practices and oversight.

           67.   Genworth’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to consumers’ Private Information which it collected and electively

shared with third-party vendors constitutes an unfair act or practice prohibited by Section 5 of the

FTC Act, 15 U.S.C. § 45.



38
     Id.
                                                  18
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          68.   Genworth was at all times fully aware of its obligation to protect the Private

Information of customers and insurance agents. Genworth was also aware of the significant

repercussions that would result from its failure to do so.

                     Defendant Fails to Comply with Industry Standards

          69.   As shown above, experts studying cybersecurity routinely identify financial

services providers and partners as being particularly vulnerable to cyberattacks because of the

value of the Private Information which they collect and maintain.

          70.   Several best practices have been identified that at a minimum should be

implemented by financial service providers like Defendant, including but not limited to; educating

all employees; strong passwords; multi-layer security, including firewalls, anti-virus, and anti-

malware software; encryption, making data unreadable without a key, multi-factor authentication,

backup data, and limiting which employees can access sensitive data.

          71.   Other best cybersecurity practices that are standard in the financial services

industry include installing appropriate malware detection software; monitoring and limiting the

network ports; protecting web browsers and email management systems; setting up network

systems such as firewalls, switches and routers; monitoring and protection of physical security

systems; protection against any possible communication system; training staff regarding critical

points.

          72.   On information and belief, Defendant failed to meet the minimum standards of any

of the following frameworks: the NIST Cybersecurity Framework Version 1.1 (including without

limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1,

PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the

Center for Internet Security’s Critical Security Controls (CIS CSC), which are all established
                                                  19
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standards for reasonable cybersecurity readiness.

         73.    These foregoing frameworks are existing and applicable industry standards in the

financial services industry, and Defendant failed to comply with these accepted standards, thereby

opening the door to the cyber incident and causing the Data Breach.

                   Cyberattacks and Data Breaches Cause Disruption and
               Put Consumers at an Increased Risk of Fraud and Identity Theft

         74.    Cyberattacks and data breaches at financial services providers like Defendant are

especially problematic because they can negatively impact the overall daily lives of individuals

affected by the attack.

         75.    The United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft face

“substantial costs and time to repair the damage to their good name and credit record.”39

         76.    That is because any victim of a data breach is exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal PII is to monetize it. They

do this by selling the spoils of their cyberattacks on the black market to identity thieves who desire

to extort and harass victims, take over victims’ identities to engage in illegal financial transactions

under the victims’ names. Because a person’s identity is akin to a puzzle, the more accurate pieces

of data an identity thief obtains about a person, the easier it is for the thief to take on the victim’s

identity, or otherwise harass or track the victim. For example, armed with just a name and date of

birth, a data thief can utilize a hacking technique referred to as “social engineering” to obtain even

more information about a victim’s identity, such as a person’s login credentials or Social Security


39
  See U.S. Gov. Accounting Office, GAO-07-737, Personal Information: Data Breaches Are
Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
Unknown (June 2007), available at https://www.gao.gov/new.items/d07737.pdf.
                                                20
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number. Social engineering is a form of hacking whereby a data thief uses previously acquired

information to manipulate individuals into disclosing additional confidential or personal

information through means such as spam phone calls and text messages or phishing emails.

         77.   The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for seven years if someone

steals their identity), reviewing their credit reports, contacting companies to remove fraudulent

charges from their accounts, placing a credit freeze on their credit, and correcting their credit

reports.40

         78.   Identity thieves use stolen Private Information such as Social Security numbers for

a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

         79.   Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information. In addition, identity thieves may obtain a job using the victim’s Social

Security number, rent a house or receive medical services in the victim’s name, and may even give

the victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name.

         80.   Moreover, theft of Private Information is also gravely serious because Private

Information is an extremely valuable property right.41


40
   See IdentityTheft.gov, Federal Trade Commission, https://www.identitytheft.gov/Steps (last
visited Aug. 24, 2023).
41
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
Identifiable Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech.
                                                  21
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         81.    Its value is axiomatic, considering the value of “big data” in corporate America and

the fact that the consequences of cyber thefts include heavy prison sentences. Even this obvious

risk to reward analysis illustrates beyond doubt that Private Information has considerable market

value.

         82.    It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs and when it is discovered, and also between when Private Information

and/or financial information is stolen and when it is used.

         83.    According to the U.S. Government Accountability Office, which conducted a study

regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data may be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm.

See GAO Report, at p. 29.

         84.    Private Information is such a valuable commodity to identity thieves that once the

information has been compromised, criminals often trade the information on the “cyber black-

market” for years.

         85.    Thus, Plaintiff and Class Members must vigilantly monitor their financial and

medical accounts, or the accounts of deceased individuals for whom Class Members are the

executors or surviving spouses, for many years to come.

         86.    Private Information can sell for as much as $363 per record according to the Infosec




11, at *3-4 (2009) (“PII, which companies obtain at little cost, has quantifiable value that is
rapidly reaching a level comparable to the value of traditional financial assets.”) (citations
omitted).
                                                 22
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Institute.42 Private Information is particularly valuable because criminals can use it to target

victims with frauds and scams. Once Private Information is stolen, fraudulent use of that

information and damage to victims may continue for years.

         87.   For example, the Social Security Administration has warned that identity thieves

can use an individual’s Social Security number to apply for additional credit lines.43 Such fraud

may go undetected until debt collection calls commence months, or even years, later. Stolen Social

Security Numbers also make it possible for thieves to file fraudulent tax returns, file for

unemployment benefits, or apply for a job using a false identity.44 Each of these fraudulent

activities is difficult to detect. An individual may not know that his or her Social Security Number

was used to file for unemployment benefits until law enforcement notifies the individual’s

employer of the suspected fraud. Fraudulent tax returns are typically discovered only when an

individual’s authentic tax return is rejected.

         88.   Moreover, it is not an easy task to change or cancel a stolen Social Security number.

         89.   An individual cannot obtain a new Social Security number without significant

paperwork and evidence of actual misuse. Even then, a new Social Security number may not be

effective, as “[t]he credit bureaus and banks are able to link the new number very quickly to the

old number, so all of that old bad information is quickly inherited into the new Social Security

number.”45


42
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/.
43
   Identity Theft and Your Social Security Number, Social Security Administration (July 2021),
available at https://www.ssa.gov/pubs/EN-05-10064.pdf.
44
   Id.
45
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft.
                                                 23
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         90.    This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit

card information, personally identifiable information and Social Security Numbers are worth more

than 10x on the black market.”46

         91.    Because of the value of its collected and stored data, the financial services industry

has experienced disproportionally higher numbers of data theft events than other industries.

         92.    For this reason, Defendant knew or should have known about these dangers and

strengthened their data and email handling systems accordingly. Defendant was on notice of the

substantial and foreseeable risk of harm from a data breach, yet Defendant failed to properly

prepare for that risk.

                                DEFENDANT’S DATA BREACH

         93.    Defendant breached its obligations to Plaintiff and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer

systems and data, and the systems of third parties with which Defendant voluntarily shared

Plaintiff’s and Class Members’ Private Information. Defendant’s unlawful conduct includes, but

is not limited to, the following acts and/or omissions:

                a.       Failing to maintain an adequate data security system to reduce the risk of

                         data breaches and cyber-attacks;

                b.       Failing to adequately protect customers’ Private Information;

                c.       Failing to ensure that its vendors with access to its computer systems and



46
  Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-
hack-personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html.
                                                 24
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                       data employed reasonable security procedures;

               d.      Failing to ensure the confidentiality and integrity of electronic PII they

                       created, received, maintained, and/or transmitted,

               e.      Failing to protect against reasonably anticipated threats or hazards to the

                       security or integrity of electronic PHI in violation of 45 C.F.R. §

                       164.306(a)(2);

               f.      Failing to comply with FTC guidelines for cybersecurity, in violation of

                       Section 5 of the FTC Act;

               g.      Failing to adhere to industry standards for cybersecurity as discussed above;

                       and

               h.      Otherwise breaching its duties and obligations to protect Plaintiff’s and

                       Class Members’ Private Information.

       94.     Genworth negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ Private Information by allowing cyberthieves to access Genworth computer network

and systems for multiple days which contained unsecured and unencrypted Private Information.

       95.     Accordingly, as outlined below, Plaintiff and Class Members now face an

increased risk of fraud and identity theft. In addition, Plaintiff and the Class Members also lost the

benefit of the bargain they made with Defendant.

                             Plaintiff’s and Class Members’ Damages

       96.     Given the sensitivity of the Private Information involved in this Data Breach,

Plaintiff and Class Members have all suffered damages and will face a substantial risk of additional

injuries for years to come, if not the rest of their lives. Defendant has done nothing to compensate

Plaintiff or Class Members for many of the injuries they have already suffered. Defendant has not
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demonstrated any efforts to prevent additional harm from befalling Plaintiff and Class Members

as a result of the Data Breach.

        97.    Plaintiff and Class Members have been damaged by the compromise of their

Private Information in the Data Breach.

        98.    Plaintiff’s and Class Members’ demographic information, dates of birth, and Social

Security Numbers were all compromised in the Data Breach and are now in the hands of the

cybercriminals.

        99.    Since being notified of the Data Breach, Plaintiff has spent time dealing with the

impact of the Data Breach, valuable time Plaintiff otherwise would have spent on other activities,

including but not limited to work and/or recreation.

        100.   Due to the Data Breach, Plaintiff anticipates spending considerable time and money

on an ongoing basis to try to mitigate and address harms caused by the Data Breach. This includes

changing passwords, cancelling credit and debit cards, and monitoring her accounts for fraudulent

activity.

        101.   Plaintiff’s and Class Members’ Private Information was compromised as a direct

and proximate result of the Data Breach.

        102.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been placed at a present, imminent, immediate, and continuing increased risk of

harm from fraud and identity theft.

        103.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have been forced to spend time dealing with the effects of the Data Breach.

        104.   Plaintiff and Class Members face substantial risk of out-of-pocket fraud losses such

as loans opened in their names, medical services billed in their names, tax return fraud, utility bills
                                                   26
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opened in their names, credit card fraud, and similar identity theft.

       105.    Indeed, Plaintiff has already suffered harms from the theft of her identity,

whereupon an identity thief was able to satisfactorily impersonate plaintiff to withdraw $4,000

from Plaintiff’s bank account, as discussed in greater detail below.

       106.    Plaintiff and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on Plaintiff’s and Class Members’ Private

Information as potential fraudsters could use that information to more effectively target such

schemes to Plaintiff and Class Members.

       107.    Plaintiff and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       108.    Plaintiff and Class Members also suffered a loss of value of their Private

Information when they were acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

       109.    Plaintiff and Class Members were also damaged via benefit-of-the-bargain

damages. Plaintiff and Class Members overpaid for a service that was intended to be accompanied

by adequate data security that complied with industry standards but was not. Part of the price

Plaintiff and Class Members paid to Defendant and/or Defendant’s third-party vendors was

intended to be used by Defendant to fund adequate security of their computer system(s) and

Plaintiff’s and Class Members’ Private Information. Thus, Plaintiff and Class Members did not

get what they paid for and agreed to.

       110.    Plaintiff and Class Members have spent and will continue to spend significant

amounts of time monitoring their accounts and sensitive information for misuse.
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       111.    Plaintiff and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out-of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:

                   a. Reviewing and monitoring sensitive accounts and finding fraudulent

                      insurance claims, loans, and/or government benefits claims;

                   b. Purchasing credit monitoring and identity theft prevention;

                   c. Placing “freezes” and “alerts” with reporting agencies;

                   d. Spending time on the phone with or at financial institutions, healthcare

                      providers, and/or government agencies to dispute unauthorized and

                      fraudulent activity in their name;

                   e. Contacting financial institutions and closing or modifying financial

                      accounts; and

                   f. Closely reviewing and monitoring Social Security Numbers, medical

                      insurance accounts, bank accounts, and credit reports for unauthorized

                      activity for years to come.

       112.    Moreover, Plaintiff and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing Private Information is not

accessible online and that access to such data is password protected, and that Defendant reasonably

and adequately oversees the data security measures implemented by third-parties with which

Defendant shares Plaintiff’s and Class Members’ sensitive Private Information.
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          113.   Further, as a result of Defendant’s conduct, Plaintiff and Class Members are forced

to live with the anxiety that their Private Information may be disclosed to the entire world, thereby

subjecting them to embarrassment and depriving them of any right to privacy whatsoever.

          114.   As a direct and proximate result of Defendant’s actions and inactions, Plaintiff and

Class Members have suffered anxiety, emotional distress, loss of time, loss of privacy, and are at

an increased risk of future harm.

                                       Plaintiff’s Experience

          115.   Plaintiff provided her Private Information to Genworth directly when she obtained

financial services from Genworth in the form of a term life insurance policy.

          116.   According to the Data Breach Notice Letter Plaintiff received, Plaintiff’s personal

information was involved in the Data Breach.47

          117.   Upon information and belief, Plaintiff was presented with standard forms to

complete prior to receiving financial services that required her to provide Genworth with her PII.

Upon information and belief, Defendant received and maintains the information Plaintiff was

required to provide.

          118.   Plaintiff is very careful with her Private Information. She stores any documents

containing her Private Information in a safe and secure location or destroys the documents.

Plaintiff has never knowingly transmitted unencrypted sensitive Private Information over the

internet or any other unsecured source. Moreover, Plaintiff diligently chooses unique usernames

and passwords for her various online accounts.

          119.   As a result of the Data Breach, Plaintiff made reasonable efforts to mitigate the



47
     See Notice Letter.
                                                   29
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impact of the Data Breach after receiving the data breach notification letter, including but not

limited to researching the Data Breach, reviewing credit card and financial account statements,

and monitoring her credit.

        120.    Plaintiff was forced to spend multiple hours attempting to mitigate the effects of

the Data Breach. She will continue to spend valuable time she otherwise would have spent on

other activities, including but not limited to work and/or recreation. This is time that is lost forever

and cannot be recaptured.

        121.    However, despite these best efforts to mitigate the impact of the Data Breach,

Plaintiff still fell victim to identity theft, when an individual came into her local bank in Charlotte,

North Carolina and successfully withdrew funds in the amount of $4,000 using Plaintiff’s stolen

identity information. Despite the bank teller’s best attempts to validate the identity of the identity

thief by conducting an extensive interview, the identity thief was still able to satisfactorily answer

these questions using Plaintiff’s stolen identity information, whereupon the money was turned

over and the thief left the bank.

        122.    Plaintiff suffered actual injury and damages from having her Private Information

compromised as a result of the Data Breach including, but not limited to (a) the loss of $4,000 due

to identity theft; (b) diminution in the value of her Private Information, a form of intangible

property that Genworth obtained from Plaintiff; (c) violation of her privacy rights; (d) the theft of

her Private Information; (e) loss of time; (f) imminent and impending injury arising from the

increased risk of identity theft and fraud, including the loss of $4,000 misappropriated from her

bank account; (g) failure to receive the benefit of her bargain; and (h) nominal and statutory

damages.

        123.    Plaintiff has also suffered emotional distress that is proportional to the risk of harm
                                                    30
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and loss of privacy caused by the theft of her Private Information, which she believed would be

protected from unauthorized access and disclosure, including anxiety about unauthorized parties

viewing, selling, and/or using her Private Information for purposes of identity theft and fraud.

Plaintiff has also suffered anxiety about unauthorized parties viewing, using, and/or publishing

information related to her Social Security number and insurance policy.

       124.    As a result of the Data Breach, Plaintiff anticipates spending considerable time and

money on an ongoing basis to try to mitigate and address harms caused by the Data Breach. In

addition, Plaintiff will continue to be at present, imminent, and continued increased risk of identity

theft and fraud in perpetuity.

       125.    Plaintiff has a continuing interest in ensuring that her Private Information, which,

upon information and belief, remains backed up in Defendant’s possession, is protected and

safeguarded from future breaches.

                                 CLASS ACTION ALLEGATIONS

       126.    Plaintiff brings this action against Defendant individually and on behalf of all other

persons similarly situated (“the Class”).

       127.    Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

       All persons or, if minors, their parents or guardians, or, if deceased, their
       executors or surviving spouses, who Defendant identified as being among those
       individuals impacted by the Data Breach, including all who were sent a notice
       of the Data Breach.

       128.    Excluded from the Class are Defendant’s officers, directors, and employees; any

entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of Defendant. Excluded also from the Class are members

                                                   31
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of the judiciary to whom this case is assigned, their families and Members of their staff.

         129.    Plaintiff reserves the right to amend or modify the Class definition or create

additional subclasses as this case progresses.

         130.    Numerosity. The Members of the Class are so numerous that joinder of all of them

is impracticable. Genworth reports that 2.5-2.7 million individuals were impacted by the data

breach.48

         131.    Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

                    a. Whether Defendant unlawfully used, maintained, lost, or disclosed

                        Plaintiff’s and Class Members’ Private Information;

                    b. Whether Defendant failed to implement and maintain reasonable security

                        procedures and practices appropriate to the nature and scope of the

                        information compromised in the Data Breach;

                    c. Whether Defendant’s data security practices and policies prior to and

                        during the Data Breach complied with applicable data security laws and

                        regulations, including in its oversight of third parties with which Defendant

                        shared sensitive Private Information;

                    d. Whether Defendant’s data security practices and policies prior to and

                        during the Data Breach were consistent with industry standards, including

                        in its oversight of third parties with which Defendant shared sensitive



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     https://www.genworth.com/moveit.html (last accessed Sept. 27, 2023).
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                     Private Information;

                 e. Whether Defendant owed a duty to Class Members to safeguard their

                     Private Information;

                 f. Whether Defendant breached its duty to Class Members to safeguard their

                     Private Information;

                 g. Whether Defendant knew or should have known that its data security

                     systems and monitoring processes were deficient;

                 h. Whether Defendant should have discovered the Data Breach sooner;

                 i. Whether Defendant should have notified Plaintiff and Class Members of

                     the Data Breach sooner;

                 j. Whether Plaintiff and Class Members suffered legally cognizable damages

                     as a result of Defendant’s misconduct;

                 k. Whether Defendant’s conduct was negligent;

                 l. Whether Defendant breached implied contracts with Plaintiff and Class

                     Members;

                 m. Whether Defendant was unjustly enriched by unlawfully retaining a benefit

                     conferred upon it by Plaintiff and Class Members;

                 n. Whether Defendant failed to provide notice of the Data Breach in a timely

                     manner, and;

                 o. Whether Plaintiff and Class Members are entitled to damages, civil

                     penalties, punitive damages, treble damages, and/or injunctive relief.

       132.   Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s information, like that of every other Class Member, was compromised in the Data
                                               33
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Breach.

       133.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Members of the Class. Plaintiff’s Counsel are competent and

experienced in litigating class actions.

       134.    Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members, in that all the data of Plaintiff and Class Members was stored on the

same network and unlawfully accessed in the same way. The common issues arising from

Defendant’s conduct affecting Class Members set out above predominate over any individualized

issues. Adjudication of these common issues in a single action has important and desirable

advantages of judicial economy.

       135.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, to conduct this action as a class action presents far fewer management

difficulties, conserves judicial resources and the parties’ resources, and protects the rights of each

Class Member.

       136.    Defendant has acted on grounds that apply generally to the Class as a whole, so

that Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.
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       137.    Likewise, particular issues under Rule 42(d)(l) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties' interests therein. Such particular issues

include, but are not limited to:

                   a. Whether Defendant failed to timely notify the public of the Data Breach;

                   b. Whether Defendant owed a legal duty to Plaintiff and the Class to exercise

                       due care in collecting, storing, transmitting and/or sharing, and

                       safeguarding their Private Information;

                   c. Whether Defendant’s security measures to protect Plaintiff’s and Class

                       Members’ data when sharing it with third parties were reasonable in light

                       of best practices recommended by data security experts;

                   d. Whether Defendant’s failure to institute adequate protective security

                       measures, policies, and practices amounted to negligence;

                   e. Whether Defendant failed to take commercially reasonable steps to

                       safeguard consumer Private Information; and

                   f. Whether adherence to FTC data security recommendations, and measures

                       recommended by data security experts would have reasonably prevented

                       the Data Breach.

       138.    Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class Members’ names and addresses affected by the Data Breach. Class Members have

already been preliminarily identified and sent notice of the Data Breach by Defendant or PBI.



                                    CLAIMS FOR RELIEF
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                                             COUNT I
                                            Negligence
                                (On Behalf of Plaintiff and the Class)

       139.     Plaintiff re-alleges and incorporates by reference paragraphs 1–138 as if fully set

forth herein.

       140.     By collecting and storing the Private Information of Plaintiff and Class Members,

in their computer system and network, and sharing it and using it for commercial gain, Defendant

owed a duty of care to use reasonable means to secure and safeguard Plaintiff’s and Class

Members’ Private Information, to prevent inadvertent disclosure of the information, and to

safeguard the information from theft. Defendant’s duty included a responsibility to implement

processes by which it ensured that the data security systems and practices of third parties with

which they shared Plaintiff’s and Class Members’ Private Information would reasonably and

adequately safeguard that Private Information, as well as ensure there were processes to detect a

data breach in a reasonably expeditious period of time and to give prompt notice to those affected

in the case of a data breach.

       141.     Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that that the systems and networks which held Plaintiff’s and Class Members’ Private Information,

including the systems of third parties to which Defendant transferred that Private Information, and

the personnel responsible for them, adequately protected the Private Information.

       142.     Plaintiff and Class Members are a well-defined, foreseeable, and probable group

of consumers and agents that Defendant was aware, or should have been aware, could be injured

by inadequate data security measures.

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       143.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and consumers, which is recognized by

laws and regulations including but not limited to the FTC Act and common law. Defendant was

in a superior position to ensure that its systems and the systems of its third-party vendors were

sufficient to protect against the foreseeable risk of harm to Class Members from a data breach.

       144.    Defendant had a duty to employ reasonable security measures under Section 5 of

the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair practice of

failing to use reasonable measures to protect confidential data.

       145.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information entrusted to it.

       146.    Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

                   a. Failing to adopt, implement, and maintain adequate security measures to

                       safeguard Class Members’ Private Information;

                   b. Failing to adequately monitor the security of the systems of its third party

                       vendors to which Defendant transferred and/or shared Class Members’

                       Private Information;

                   c. Failing to have in place mitigation policies and procedures;

                   d. Allowing unauthorized access to Class Members’ Private Information;

                   e. Failing to detect in a timely manner that Class Members’ Private
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                       Information had been compromised; and

                   f. Failing to timely notify Class Members about the Data Breach so that they

                       could take appropriate steps to mitigate the potential for identity theft and

                       other damages.

       147.    Plaintiff and Class Members have no ability to protect their Private Information

that was or remains in Defendant’s possession or the possession of Defendant’s third-party

vendors.

       148.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Furthermore, the

breach of security was reasonably foreseeable given the known high frequency of cyberattacks

and data breaches in the financial services industry.

       149.    It was therefore foreseeable that the failure to adequately safeguard Class

Members’ Private Information would result in one or more types of injuries to Class Members.

       150.    Defendant’s conduct was grossly negligent and departed from reasonable standards

of care, including but not limited to, failing to adequately protect the Private Information and

failing to provide Plaintiff and Class Members with timely notice that their sensitive Private

Information had been compromised.

       151.    Neither Plaintiff nor Class Members contributed to the Data Breach and subsequent

misuse of their Private Information as described in this Complaint.

       152.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.
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       153.     The injury and harm Plaintiff and Class Members suffered was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known

that it was failing to meet their duties, and that Defendant’s breach would cause Plaintiff and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       154.     As a direct and proximate result of Defendant’s negligent conduct, Plaintiff and

Class Members have suffered injury and are entitled to compensatory and consequential damages

in an amount to be proven at trial.

                                           COUNT II
                                 Breach of Implied Contract
                            (On behalf of the Plaintiff and the Class)

       155.     Plaintiff re-alleges and incorporates by reference paragraphs 1–138 as if fully set

forth herein.

       156.     Defendant acquired and maintained the Private Information of Plaintiff and the

Class that they received directly from them.

       157.     When Plaintiff and Class Members paid money and provided their Private

Information to Defendant in exchange for goods or services, they entered into implied contracts

with Defendant.

       158.     Plaintiff and Class Members entered into implied contracts with Defendant under

which Defendant agreed to safeguard and protect such information and to timely and accurately

notify Plaintiff and Class Members that their information had been breached and compromised.

       159.     Plaintiff and the Class were required to deliver their Private Information to

Defendant as part of the process of obtaining services provided by Defendant. Plaintiff and Class

Members paid money, or money was paid on their behalf, to Defendant in exchange for services.
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        160.    Defendant solicited, offered, and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices. Plaintiff and Class Members

accepted Defendant’s offers and provided their Private Information to Defendant.

        161.    Defendant accepted possession of Plaintiff’s and Class Members’ Private

Information for the purpose of providing services or Plaintiff and Class Members.

        162.    In accepting such information and payment for services, Defendant entered into an

implied contract with Plaintiff and the other Class Members whereby Defendant became obligated

to reasonably safeguard Plaintiff’s and the other Class Members’ Private Information.

        163.    Alternatively, Plaintiff and Class Members were the intended beneficiaries of data

protection agreements entered into between Defendant and Defendant’s third-party vendors.

        164.    In delivering their Private Information to Defendant and paying for financial

services, Plaintiff and Class Members intended and understood that Defendant would adequately

safeguard the data as part of that service.

        165.     The implied promise of confidentiality includes consideration beyond those pre-

existing general duties owed under state of federal regulations. The additional consideration

included implied promises to take adequate steps to comply with specific industry data security

standards and FTC guidelines on data security.

        166.      The implied promises include but are not limited to: (1) taking steps to ensure

that any agents who are granted access to Private Information also protect the confidentiality of

that data; (2) taking steps to ensure that the information that is placed in the control of their agents

is restricted and limited to achieve an authorized purpose; (3) restricting access to qualified and

trained agents; (4) designing and implementing appropriate retention policies to protect the

information against criminal data breaches; (5) applying or requiring proper encryption; (6)
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multifactor authentication for access; and (7) other steps to protect against foreseeable data

breaches.

       167.     Plaintiff and the Class Members would not have entrusted their Private

Information to Defendant in the absence of such an implied contract.

       168.     Had Defendant disclosed to Plaintiff and the Class that they did not have adequate

computer and security practices and policies to secure sensitive data, including data shared with

Defendant’s third-party vendors, Plaintiff and the other Class Members would not have provided

their Private Information to Defendant.

       169.     Defendant recognized that Plaintiff’s and Class Members’ Private Information is

highly sensitive and must be protected, and that this protection was of material importance as part

of the bargain to Plaintiff and the other Class Members.

       170.     Plaintiff and the other Class Members fully performed their obligations under the

implied contracts with Defendant.

       171.     Defendant breached the implied contract with Plaintiff and the other Class

Members by failing to take reasonable measures to safeguard their Private Information as

described herein.

       172.     As a direct and proximate result of Defendant’s conduct, Plaintiff and the other

Class Members suffered and will continue to suffer damages in an amount to be proven at trial.

                                          COUNT III
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

       173.     Plaintiff re-alleges and incorporates by reference paragraphs 1–1378 as if fully set

forth herein.

       174.     This count is pleaded in the alternative to breach of contract.
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       175.    Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including from money it makes based upon protecting Plaintiff’s and

Class Members’ Private Information.

       176.    There is a direct nexus between money paid to Defendant and the requirement that

Defendant keeps Plaintiff’s and Class Members’ Private Information confidential and protected.

       177.    Plaintiff and Class Members paid Defendant a certain sum of money, which was

used to fund data security via contracts with Defendant.

       178.    As such, a portion of the payments made by or on behalf of Plaintiff and the Class

Members is to be used to provide a reasonable level of data security, and the amount of the portion

of each payment made that is allocated to data security is known to Defendant.

       179.    Protecting data from Plaintiff and Class Members is integral to Defendant’s

business. Without their data, Defendant would be unable to provide the insurance and financial

services comprising Defendant’s core business.

       180.    Plaintiff’s and Class Members’ data has monetary value. Plaintiff and Class

Members directly and indirectly conferred a monetary benefit on Defendant. They indirectly

conferred a monetary benefit on Defendant by purchasing goods and/or services from Defendant,

and from which Defendant received compensation to protect certain data. Plaintiff and Class

Members directly conferred a monetary benefit on Defendant by supplying Private Information,

which has value, from which value Defendant derives its business value, and which should have

been protected with adequate data security.

       181.    Defendant knew that Plaintiff and Class Members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the Private Information

of Plaintiff and Class Members for business purposes.
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       182.    Defendant enriched itself by saving the costs it reasonably should have expended

on data security measures to secure Plaintiff’s and Class Members’ Private Information. Instead

of providing a reasonable level of security that would have prevented the Data Breach, Defendant

instead calculated to avoid their data security obligations at the expense of Plaintiff and Class

Members by utilizing cheaper, ineffective security measures. Plaintiff and Class Members, on the

other hand, suffered as a direct and proximate result of Defendant’s failure to provide the requisite

security.

       183.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff and Class Members, because Defendant failed

to implement appropriate data management and security measures that are mandated by industry

standards.

       184.    Defendant acquired the monetary benefit and Private Information through

inequitable means in that they failed to disclose the inadequate security practices previously

alleged.

       185.    If Plaintiff and Class Members knew that Defendant had not secured its Private

Information, they would not have agreed to provide their Private Information to Defendant.

       186.    Plaintiff and Class Members have no adequate remedy at law.

       187.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their Private Information is used; (iii) the compromise,

publication, and/or theft of their Private Information; (iv) out-of-pocket expenses associated with

the prevention, detection, and recovery from identity theft, and/or unauthorized use of their Private

Information; (v) lost opportunity costs associated with effort expended and the loss of productivity
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addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from identity theft; (vi) the continued risk to their Private Information, which remain in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect Private Information in their

continued possession; (vii) loss or privacy from the authorized access and exfiltration of their

Private Information; and (viii) future costs in terms of time, effort, and money that will be

expended to prevent, detect, contest, and repair the impact of the Private Information compromised

as a result of the Data Breach for the remainder of the lives of Plaintiff and Class Members.

       188.     As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       189.     Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff and

Class Members overpaid for Defendant’s services.

                                          COUNT IV
                                           Bailment
                              (On Behalf of Plaintiff and the Class)

       190.     Plaintiff re-alleges and incorporates by reference paragraphs 1–138 as if set fully

forth herein.

       191.     Plaintiff and Class Members provided Private Information to the Defendant, which

Defendant was under a duty to keep private and confidential.

       192.     Plaintiff’s and Class Members’ Private Information is personal property and was

conveyed to Defendant for the certain purpose of keeping the information private and confidential.
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       193.     Plaintiff’s and Class Members’ Private Information has value and is highly prized

by hackers and criminals. Defendant was aware of the risks it took when accepting the Private

Information for safeguarding and assumed the risk voluntarily.

       194.     Once Defendant accepted Plaintiff’s and Class Members’ Private Information, it

was in the exclusive possession of that information, and neither Plaintiff nor Class Members could

control that information once they were within the possession, custody, and control of Defendant.

       195.     Defendant did not safeguard Plaintiff’s or Class Members’ Private Information

when it failed to adopt and enforce adequate security safeguards to prevent a known risk of a

cyberattack.

       196.     Defendant’s failure to safeguard Plaintiff’s and Class Members’ Private

Information resulted in that information being accessed or obtained by third-party cybercriminals.

       197.     As a result of Defendant’s failure to keep Plaintiff’s and Class Members’ Private

Information secure, Plaintiff and Class Members suffered injury, for which compensation—

including nominal damages and compensatory damages—are appropriate.

                                          COUNT V
                                   Breach of Fiduciary Duty
                              (On Behalf of Plaintiff and the Class)

       198.     Plaintiff re-alleges and incorporates by reference paragraphs 1–138 as if fully set

forth herein.

       199.     In light of the special relationship between Defendant and Plaintiff and Class

Members, Defendant became a fiduciary by undertaking a guardianship of the Private Information

to act primarily for Plaintiff and Class Members, (1) for the safeguarding of Plaintiff’s and Class

Members’ Private Information; (2) to timely notify Plaintiff and Class Members of a Data Breach

and disclosure; and (3) to maintain complete and accurate records of what information (and where)
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Defendant does store it.

       200.    Defendant had a fiduciary duty to act for the benefit of Plaintiff and Class Members

upon matters within the scope of their relationship with its customers and agents, in particular, to

keep secure their Private Information.

       201.    Defendant breached its fiduciary duty to Plaintiff and Class Members by failing to

encrypt and otherwise protect the integrity of the systems containing Plaintiff’s and Class

Members’ Private Information.

       202.    Defendant breached its fiduciary duty to Plaintiff and Class Members by otherwise

failing to safeguard Plaintiff’s and Class Members’ Private Information.

       203.    As a direct and proximate result of Defendant’s breach of its fiduciary duty, Plaintiff

and Class Members have suffered and will suffer injury, including but not limited to: (i) actual

identity theft; (ii) the compromise, publication, and/or theft of their Private Information; (iii) out-

of-pocket expenses associated with the prevention, detection, and recovery from identity theft

and/or unauthorized use of their Private Information; (iv) lost opportunity costs associated with

effort expended and the loss of productivity addressing and attempting to mitigate the actual and

future consequences of the Data Breach, including but not limited to efforts spent researching how

to prevent, detect, contest, and recover from identity theft; (v) the continued risk to their Private

Information, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information in their continued possession; (vi) future costs in terms of time, effort, and

money that will be expended as result of the Data Breach for the remainder of the lives of Plaintiff

and Class Members; and (vii) the diminished value of Defendant’s services they received.

       204.    As a direct and proximate result of Defendant’s breach of their fiduciary duty,
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Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

       a)      For an Order certifying this action as a Class action and appointing Plaintiff as Class

Representative and her counsel as Class Counsel;

       b)      For equitable relief enjoining Defendant from engaging in the wrongful conduct

complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and Class Members’

Private Information, and from refusing to issue prompt, complete and accurate disclosures to

Plaintiff and Class Members;

       c)      For equitable relief compelling Defendant to utilize appropriate methods and

policies with respect to consumer data collection, storage, and safety, and to disclose with

specificity the type of Private Information compromised during the Data Breach;

       d)      For equitable relief requiring restitution and disgorgement of the revenues

wrongfully retained as a result of Defendant’s wrongful conduct;

       e)      Ordering Defendant to pay for not less than five years of credit monitoring services

for Plaintiff and the Class;

       f)      For an award of actual damages, compensatory damages, statutory damages,

nominal damages, and/or statutory penalties, in an amount to be determined, as allowable by law;

       g)      For an award of punitive damages, as allowable by law;

       h)      Pre- and post-judgment interest on any amounts awarded; and,

       i)      Such other and further relief as this court may deem just and proper.

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                                     JURY TRIAL DEMANDED

        Under Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any and

all issues in this action so triable as of right.

Dated: September 29, 2023                           Respectfully submitted,

                                                    DARLENE M. KENNEDY, individually and on
                                                    behalf of all others similarly situated
                                                    By Counsel

                                                    /s/______________________________
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